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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Hon. James B. Clark, III
                                       :
      v.                               :    Mag. No. 21-12219
                                       :
ISRAFIL “DAVID” DEMIR                  :    ORDER FOR A CONTINUANCE



      This matter having come before the Court on the joint application of

Philip R. Sellinger, United States Attorney for the District of New Jersey (by

Andrew M. Trombly, Assistant United States Attorney), and defendant Israfil

“David” Demir (by Riaz I. Dagli, Esq.), for an order granting a continuance of

the proceedings in the above-captioned matter from the date this Order is

signed through and including April 1, 2022 to permit defense counsel the

reasonable time necessary for effective preparation in this matter and to allow

the parties to conduct plea negotiations; and the defendant being aware that

the defendant has the right to have the matter submitted to a grand jury within

30 days of the date of the defendant’s arrest pursuant to Title 18, United States

Code, Section 3161(b); and four prior continuances having been entered by

party consent; and the defendant, through the defendant’s attorney, having

consented to the continuance; and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:
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      (1) Plea negotiations are currently in progress, and both the United

States and the defendant seek additional time to achieve successful resolution

of those negotiations, which would render trial of this matter unnecessary, and

to allow consideration by the court of a proposed plea agreement entered into

by the defendant and the United States;

      (2) The defendant has consented to the aforementioned continuance;

      (3) The grant of a continuance will likely conserve judicial resources; and

      (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

                                31st
      WHEREFORE, it is on this ________           January
                                        day of _______________________2022;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including April 1, 2022; and it is further




                           [Continued on next page.]




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      ORDERED that the period from the date this Order is signed through

and including April 1, 2022 shall be excludable in computing time under the

Speedy Trial Act of 1974.




                                       s/James B. Clark, III
                                    HONORABLE JAMES B. CLARK, III
                                    United States Magistrate Judge

Form and entry consented to:


/s/ Riza I. Dagli

Riza I. Dagli, Esq.
Counsel for Defendant Israfil “David” Demir


/s/ Andrew M. Trombly

Andrew M. Trombly
Assistant U.S. Attorney


/s/ Sean Farrell
____________________________________
Sean Farrell
Chief, Cybercrime Unit




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